                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
WILLOW MIDWIFE CENTER FOR                  )
BIRTH AND WELLNESS AZ, LLC, and            )
WILLOW MIDWIFE CENTER FOR                  )
BIRTH AND WELLNESS AZ CENTRAL,             )
LLC,                                       )    Case No. 3:24-cv-30150
                                           )
            Plaintiffs,                    )
      v.                                   )
                                           )
INNOVATION BILLING SERVICE, INC.,          )
REVASCENT, LLC and MEDICAL                 )
PRACTICE MANAGEMENT &                      )
CONSULTING, LLC,                           )
                                           )
            Defendants.                    )
                                           )

       DEFENDANT REVASCENT, LLC’S RULE 12(b)(6) MOTION TO DISMISS
               COUNTS II AND III OF FIRST AMENDED COMPLAINT
       NOW COMES Defendant Revascent, LLC (“Revascent”), by and through counsel,

McAngus Goudelock & Courie, LLC, and for its Rule 12(b)(6) Motion to Dismiss Counts II and

III of Plaintiffs Willow Midwife Center for Birth and Wellness AZ, LLC and Willow Midwife

Center for Birth and Wellness AZ Central, LLC’s (collectively, “Willow”) First Amended

Complaint, states as follows:

       For the reasons more fully set forth in the accompanying Memorandum in Support of

Defendant Revascent, LLC’s Rule 12(b)(6) Motion to Dismiss Counts II and III of First Amended

Complaint, Counts II and III should be dismissed for failure to state legally cognizable claims.

More specifically, Count II fails to meet the requirements for a claim under M.G.L.A. 93A §§ 2,

11; and Count III fails to meet the heightened pleading standard of Fed. R. Civ. P. 9(b). As such,

this Court should dismiss Counts II and III pursuant to Rule 12(b)(6).



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Respectfully submitted,
REVASCENT, LLC
By its attorney,

/s/ John G. O’Neill
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                                     CERTIFICATE OF SERVICE
        I hereby certify that I electronically filed this document with the Clerk of the United States
District Court for the District of Massachusetts on this 4th day of April 2025 by using the CM/ECF
system, with service made on all parties to this Action through their registration in the CM/ECF
system.

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                                                /s/ John G. O’Neill
                                                John G. O’Neill




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